            Case 1:16-cv-01467-KBJ Document 40 Filed 08/31/18 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



AFSANEH AZADEH,                         )
                                        )
                                        )
                    Plaintiff,          )
                                        )            Civil Action No.: 16-CV-1467-KBJ-GMH
            v.                          )
                                        )
THE GOVERNMENT OF THE                   )
ISLAMIC REPUBLIC OF IRAN,               )
                                        )
                                        )
            and                         )
                                        )
THE ARMY OF THE GUARDIANS               )
OF THE ISLAMIC REVOLUTION,              )
                                        )
                                        )
                    Defendants.         )
                                        )


             PLAINTIFF’S RENEWED MOTION FOR DEFAULT JUDGMENT

         In accordance with the Court’s August 27, 2018 Minute Order, Plaintiff Afsaneh Azadeh,

through counsel, hereby respectfully renews her motion for default judgment.

         On July 9, 2018, this Court stayed consideration of Magistrate Judge Harvey’s Report &

Recommendation and denied Plaintiff’s motion for default judgment without prejudice. The

Court explained that after Plaintiff re-serves Iran in accordance 28 U.S.C. § 1608(a)(4) it would

have the “requisite authority to adopt the remainder of Magistrate Judge Harvey’s thorough R&R

and enter a default judgment in Azadeh’s favor, if appropriate.”1




1   See Mem. Op., ECF No. 35 at 2.
         Case 1:16-cv-01467-KBJ Document 40 Filed 08/31/18 Page 2 of 2




       On August 12, 2018, each defendant was properly served with this action pursuant to 28

U.S.C. § 1608(a)(4) of the Foreign Sovereign Immunities Act and each defendant failed to

respond to appear. Return of Service, August 31, 2018, ECF No. 39. Plaintiff now renews her

motion for default judgment and incorporates by reference the proposed findings of fact and

motion filed at ECF Nos. 14 and 15.



Dated: August 31, 2018                             Respectfully submitted,


                                                   /s/ Kirby D. Behre
                                                   Kirby D. Behre (D.C. Bar # 398461)
                                                   Laura G. Ferguson (D.C. Bar #433648)
                                                   Lamia R. Matta (D.C. Bar # 484444)
                                                   MILLER & CHEVALIER CHARTERED
                                                   900 16th Street, NW
                                                   Washington, D.C. 20006
                                                   Tel: (202) 626-5800
                                                   Fax: (202) 626-5801
                                                   Email: lferguson@milchev.com
                                                   Email: kbehre@milchev.com
                                                   Email: lmatta@milchev.com

                                                   Counsel for Plaintiff
